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                                                         Exhibit A to the Complaint
Location: Decatur, GA                                                                                   IP Address: 73.184.211.143
Total Works Infringed: 248                                                                              ISP: Comcast Cable
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: DA30EA66A6587A4F6B28C6A75C2E3946A6C2F8A7                          03-11-   Vixen         01-13-2023    01-27-2023   PA0002393077
           File Hash:                                                                     2023
           9028D5BBBAD0DABAC5E1281552703E83A9C41031072AEA39FEF8F96082A38D1E           13:37:30
 2         Info Hash: DFC677B3BCF37A7E55404E3E5731941D2359FFB0                          10-17-   Blacked       10-15-2022    11-01-2022   PA0002378073
           File Hash:                                                                     2022
           5F25B590AD4112FF595A46ACD69C7C25FA4627AEE952A25AB8DFE68590703A31           19:58:29
 3         Info Hash: 3BC22005E2AFC76A838931DCA776BBA6A7235CD8                          10-15-   Blacked       10-08-2022    11-01-2022   PA0002378074
           File Hash:                                                                     2022
           52978CFAE6E89E7576A6ACF227919E58FF957546FD0FBEF1FBECBE1294075FED           13:18:29
 4         Info Hash: C7DBB7401AB0BBD41AE23CE6443DE6A5AD4E47DA                          10-08-   Blacked       10-06-2022    11-01-2022   PA0002378072
           File Hash:                                                                     2022   Raw
           2FDBFE4079E8F6F7897B1A65D8A7C6A97ACF1CEC928105DF9E83DAFAE121B75A           23:03:37
 5         Info Hash: 258B938C8DB932BA26C6C13091AB699725DE4029                          10-03-   Blacked       10-01-2022    10-31-2022   PA0002377817
           File Hash:                                                                     2022
           5021FA9F75FFAE5AE30C79FEAC33A1296CEFCE229F032576EBFCD9407D8DA664           20:19:18
 6         Info Hash: CF344B3042DCAD24E21B955C9206EB79216612B1                          10-03-   Blacked       10-01-2022    10-31-2022   PA0002377811
           File Hash:                                                                     2022   Raw
           3A0EEF200C8434AE7CFEF3AFD8948F4098A564D26947A116BB874717C5F636F9           20:15:49
 7         Info Hash: 24550021ABCBE71DCF048521BFA63F64964F7CDB                          09-27-   Blacked       09-24-2022    10-05-2022   PA0002373769
           File Hash:                                                                     2022
           0881083D537D67B17DE4B9412D7A30A1D9B4453D47ACD18EB069BA82D1992253           02:18:05
 8         Info Hash: 1A76A113C1D33455F6FB4D100985C9DA1974F425                          09-22-   Vixen         07-22-2022    08-30-2022   PA0002367741
           File Hash:                                                                     2022
           3A1FA743DEEE32C83316CCC75083FEBCC7CAAF64D5BE1B92439D792FDBDBA248           23:00:54
 9         Info Hash: AA22F2CD2ED007CE11D1639BA548C9346BDB69AE                          09-22-   Tushy         08-14-2022    08-30-2022   PA0002367744
           File Hash:                                                                     2022
           7DE2E3446F60125E2CD3F7313529FA175A0DDC164323F0861FEEA22CAD059647           22:58:03
 10        Info Hash: 08F5E1679A80DB67D5969A52F2173024451310BA                          09-19-   Blacked       09-17-2022    10-05-2022   PA0002373760
           File Hash:                                                                     2022
           ECFDDEEA7018AAD90C9B083E1268FCA9C78A2E4E5EF5C08E018366E68033982C           11:52:56
 11        Info Hash: 54C1479D392BCF64E2D564E553642C8465CC6665                          09-18-   Blacked       09-01-2022    11-24-2022   PA0002388645
           File Hash:                                                                     2022   Raw
           973A004301BF70665DDFBE0B60D78ACFF38192B4D4A39FA4AFF9C12EE15F0A27           15:35:23
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 0DCAD5CD34D983D041D5DFFFCBE84AB849B55877                   08-31-   Blacked   08-27-2022   10-31-2022   PA0002377814
       File Hash:                                                              2022   Raw
       5CA26B5703389C3C514505A8D2191E29676BA81E777D3F071585FB71B5D6FDDE    20:02:02
13     Info Hash: C50F90F5C52D0EF98AF8FCB8DFA605B3EA200FBF                   08-30-   Vixen     08-26-2022   10-05-2022   PA0002373767
       File Hash:                                                              2022
       FF3BC0768BBFC3B19053BD8540A326DAB4EEB760022FD41C7323A95403E824D6    11:07:32
14     Info Hash: 95505D61714FFB8D1CAF8705030B81CE51F3A19B                   08-29-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       B8AA21BB37C16CA8759EC603E9F67A617F87E4373D6AFD1C83300B78A7ED257E    11:07:29
15     Info Hash: 7A5E3408AF26D787EE0E1F03A2F77436F75950D7                   08-27-   Blacked   08-15-2022   08-29-2022   PA0002367735
       File Hash:                                                              2022   Raw
       0545C33026AFC826D0331FB6ABB4723673C0F9D76258F7C5F291D1B1D889A325    11:11:10
16     Info Hash: 65451406A437076E8149B26B85EDCB6CA42C10B5                   08-23-   Tushy     08-21-2022   08-29-2022   PA0002367745
       File Hash:                                                              2022
       30A7E78D661323E0740822AE6AF8B28804F021B3A6175376C8E05CB0F4680EFD    10:13:20
17     Info Hash: 5954CA36DA9BD29C667D78C6FA6EE9CFB6C65806                   08-11-   Vixen     07-18-2018   09-01-2018   PA0002119684
       File Hash:                                                              2022
       9BB4B80B2874773C608A5E46747FAC0F93629D1C9636ED6CF313EA61221E810D    21:57:22
18     Info Hash: 43268005821A1C19A5BD98A52E5C5D6C921B0859                   08-08-   Vixen     08-05-2022   08-29-2022   PA0002367737
       File Hash:                                                              2022
       652E3A33EE1203CA13CB60AEE357002DC184DBF0F053878BDB954B300A6504A1    19:56:58
19     Info Hash: 950CF322CAF29FE4D7BD1603C10F1CC81C7416E6                   08-03-   Blacked   08-01-2022   08-29-2022   PA0002367736
       File Hash:                                                              2022   Raw
       9C181FD2509B79ECD4AAD840F26DC90AB87C08C47AD22926DAF00FB732956FC5    21:04:11
20     Info Hash: A45135933D2916166CD81B774C59AB9D551ABFDD                   08-01-   Blacked   07-30-2022   08-30-2022   PA0002367742
       File Hash:                                                              2022
       5BB4FD9BB134B08DCB2F522421309D45E957B0FB1F8FDEAE7FB262B439168267    23:22:59
21     Info Hash: 71790FDE1C8C4A010156562C4D122EBCF8503A3A                   07-31-   Tushy     05-02-2021   06-15-2021   PA0002296917
       File Hash:                                                              2022
       E559E261908121B2EB325811B95B829307D5DD3F02632942908F14C379482FCB    19:31:08
22     Info Hash: 3534C2B08D91633EB0FB960A4C43E4E810E2E421                   07-31-   Vixen     07-29-2022   08-29-2022   PA0002367717
       File Hash:                                                              2022
       5DE7DF867C95C6AF0E4F52435B2069EE796E3EE8850A7F4AA8F2171A5C86E66B    14:26:43
23     Info Hash: 2BD29F8D69BA9A390B2B1A0C4F97FE6089BD9E44                   07-28-   Tushy     01-11-2018   01-24-2018   PA0002101766
       File Hash:                                                              2022
       A32388956F651267AF522E07EFE00B62EF01442B2652F8C5895F808AC7266FD3    18:28:20
                              Case 1:23-cv-02103-SDG Document 4-1 Filed 05/15/23 Page 3 of 21

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: FF487258F6D9E2E846445A223A569DF217B200E8                   07-28-   Tushy     04-01-2018   04-17-2018   PA0002116061
       File Hash:                                                              2022
       B16CC40704C8777313159AF09453C1228654A5E6AAEE05E06CA2EE871A8BB6C2    14:34:20
25     Info Hash: AC0D6DB5C1BFA1C878C0CB39E540711FD9D0329B                   07-28-   Tushy     11-17-2019   11-27-2019   PA0002213996
       File Hash:                                                              2022
       7FBF72A8572F656BD3105990E36D3952FEA247E0D5743D1213B53B9186420259    14:31:15
26     Info Hash: 1D44B95259442C3A9B0B9455C8C28A89AD369DE7                   07-27-   Blacked   07-25-2022   08-29-2022   PA0002367727
       File Hash:                                                              2022   Raw
       DF7B69C7949959ED563F5993AE5D903F8E7A90693CFE734430395BEB848221E5    16:18:11
27     Info Hash: 8FDE83C1B6614B3F1A37CD8A0E3EDA558F4A499B                   07-22-   Vixen     08-27-2017   09-15-2017   PA0002052843
       File Hash:                                                              2022
       C174C68A5F6AC1C57DE386D4355E2BD4262DC21312FB9FB8D1B5EC6644FC2B7E    04:26:16
28     Info Hash: 3B37C1EA3D5C559642EFB1989022683E55102FEE                   07-22-   Blacked   07-18-2022   08-30-2022   PA0002367753
       File Hash:                                                              2022   Raw
       B18A02CD77883EF5121CBD98BFC22A9C16AD954E3CFF6383D242DFDFC0C93377    00:04:55
29     Info Hash: BB349C1293CF3112B08434A0CD6DB65533E540AE                   07-19-   Vixen     07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                              2022
       A0B82E6D979B02C53F6EF85500D6622928A69DB240883DC1978E9B1601CF5FAB    20:25:51
30     Info Hash: 2050D0595CE5CE49BF58E05FCFC07D94B3518567                   07-19-   Blacked   07-16-2022   07-22-2022   PA0002359474
       File Hash:                                                              2022
       68A380690E0D86D2B8C273C6DEAD56A98F5A34ED49D5E163E28FEB8F48A16271    20:25:35
31     Info Hash: 652D8131A55ECC4DBF8862EC154ED8B640D8509E                   07-13-   Tushy     07-10-2022   07-22-2022   PA0002359469
       File Hash:                                                              2022
       9C1F7CD1E486848BB657AEA0EF013B50A1C236A1057A1269DE1B5543340A95F1    20:12:10
32     Info Hash: 4C0A6860372B31EAD5CF0A781499B0EE7BDF31AD                   07-13-   Tushy     01-21-2018   02-20-2018   PA0002104191
       File Hash:                                                              2022
       88AEA3DB9489D065882DCC0A2D3B45A4C0155CF0F942F137A09E67A50BD370D1    20:07:36
33     Info Hash: EDAA460FA5995B02EF111997AAC1E210CA5669F6                   07-13-   Tushy     04-06-2017   06-05-2017   PA0002050769
       File Hash:                                                              2022
       0829DF93B4275DBD9530B05670C1363A5DE11847C031BCDA13AC68A958BCA495    19:53:37
34     Info Hash: F32615CF72189CDD69E6151E4903AC651D3A7063                   07-06-   Blacked   07-04-2022   07-22-2022   PA0002359466
       File Hash:                                                              2022   Raw
       6891E3B37E52096A272BBC88EDD1A35D8021ED2711AB1A0858FAA335BDE45B8A    21:15:02
35     Info Hash: F81CE28FE9EBF38DDC6BD65EF545FE9D45AB0F5C                   06-30-   Blacked   06-27-2022   07-22-2022   PA0002359465
       File Hash:                                                              2022   Raw
       CFCA30A575EC682A41EEE611A1D5F88666A5ADE1DFE65CC761774D742A47CA7D    00:57:46
                              Case 1:23-cv-02103-SDG Document 4-1 Filed 05/15/23 Page 4 of 21

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 7904A141CEE0C0AF1E207F32CD1F7997F26B469E                   06-29-   Tushy     06-26-2022   07-22-2022   PA0002359467
       File Hash:                                                              2022
       26942FF6602A2AD102834A5F74E45EEAD6B7FC7890ECD0A25B20E6E7417FDEEF    02:45:11
37     Info Hash: 7C5664503A6507504F1DD34CF346C34C843E29E1                   06-24-   Blacked   06-18-2022   06-27-2022   PA0002355032
       File Hash:                                                              2022
       B4C3341D97F538C2E474C49482AE121A378BAB847204DD5013AD20E9BC5CBA8A    16:38:47
38     Info Hash: 280E88FC7CEB3E5E96E3E41175EAE19DBA741A70                   06-14-   Tushy     06-12-2022   06-27-2022   PA0002354982
       File Hash:                                                              2022
       9BCE1453FDBB1652779D3192C951886B4012BF5A70DD665E0BD60995EA48ADA7    21:05:57
39     Info Hash: 309024C828DF3FB77335331A1416A2078E5B2F04                   06-01-   Blacked   05-30-2022   07-21-2022   PA0002367910
       File Hash:                                                              2022   Raw
       44E24DDEA8CC646565E0756D7206106F1F0E93A93F82C324C3A6F4BE33A1494A    23:33:59
40     Info Hash: 848D53796E57ECC9339584B00C85DBECC15B1972                   05-31-   Vixen     05-27-2022   06-27-2022   PA0002355035
       File Hash:                                                              2022
       71BA8001D0DB2EABF4C24A1E059187713B008BB937F30A0217782816A4C04421    20:00:24
41     Info Hash: 46857304ACE7F50BB0FA81A89D992DFD7234A063                   05-23-   Blacked   05-21-2022   06-27-2022   PA0002354986
       File Hash:                                                              2022
       E273352946EAC52115D1645E86441B060FD6CA129C923630923C5BFC08ABCBF2    21:28:10
42     Info Hash: B13AE94A241C9D4B473BBB3C26F761F76F55D935                   05-13-   Tushy     01-06-2019   01-22-2019   PA0002147897
       File Hash:                                                              2022
       395A82D53B768C28EBBA26D21956E9B2F8BDD3FF8A502A46B474BE4C632659AE    12:05:37
43     Info Hash: 66A289A04AE4D4729648FCE2D0ABC42B6B2135AE                   05-09-   Vixen     05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                              2022
       67D2A3CE85DD3A5ADC1FE23B1FB1A90C15A1647094913B09DEB4E4DF74DF568C    20:01:54
44     Info Hash: 654CFBA775433926717A3E0D58C90196F0413460                   04-28-   Vixen     10-16-2020   11-18-2020   PA0002272621
       File Hash:                                                              2022
       BE957B752D7675E37648F2D81C3040F9E272C6D4588CBDFAB6E52E785DD954C9    20:30:45
45     Info Hash: 81CEC78AE99A723C68332182E337F15D1D260069                   04-28-   Vixen     09-01-2019   09-17-2019   PA0002216134
       File Hash:                                                              2022
       6B874CEB340A267D580C6408BB5D0AFCA61276AC3FCF7EC21E47A16380A4D672    20:30:33
46     Info Hash: 9B2D7FF24D25691FBFA67A7F19276AFE62D75467                   04-28-   Blacked   09-26-2020   10-22-2020   PA0002261801
       File Hash:                                                              2022
       743F0514EE583C16D839D66F135C80AD6B68A59E4C572E24310AF5362B24EE1C    20:24:01
47     Info Hash: C6D89A14439B65845B858939EABB7075820E2B1D                   04-28-   Blacked   04-16-2022   04-23-2022   PA0002346424
       File Hash:                                                              2022
       34B237A6542B8BC5C3F37D109D74B20FCA2D704596C79193FF3BB53A62EB7F4B    20:20:12
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: 332EBAD1AD7EBE13048CC30ACF98ED5D60158D90                   04-28-   Vixen     01-01-2021   02-02-2021   PA0002281154
       File Hash:                                                              2022
       28D84F1A51123CB154FF50DEDE21C81B975F0CAC39EFAE056A6B97E66DC5DA88    20:17:31
49     Info Hash: 795401C50FDDADEABBF656934EF4862EDAF4D812                   04-28-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2022
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429    20:16:11
50     Info Hash: 14EC33D46FEA2D0766026D983770FB3F31669DA9                   04-28-   Blacked   04-25-2022   05-20-2022   PA0002350387
       File Hash:                                                              2022   Raw
       20C1F39D3B82D975777224BE38A8946131095F76159FB67AE203A99BBDEB4253    20:06:15
51     Info Hash: 634B70078E93F75F084A98621D51AFC94191087B                   04-26-   Vixen     10-29-2021   11-11-2021   PA0002321280
       File Hash:                                                              2022
       1D8CF0C11A85F5976211EA195778C57D294BB252C2E7AB41FA72C1711E28256C    23:10:08
52     Info Hash: 3C681622E5111A0DF48D7E1B99D43CB7E089F835                   04-26-   Blacked   02-21-2019   04-29-2019   PA0002170356
       File Hash:                                                              2022   Raw
       05CB33754E2EBBA16D082FC2453B2A8B347D18FC94361304717A672C103A9EE6    23:10:06
53     Info Hash: 7054652C3A1756B1D4B48572E12896AEA1D14296                   04-26-   Tushy     06-14-2020   06-25-2020   PA0002255507
       File Hash:                                                              2022
       A4C245DA7141B84750664EA8097CD2E42D79470052B632D1907A68EA4251B0DE    23:10:01
54     Info Hash: CC4C9F3139A74EA0F73EEEC68EFA9CE5594554F9                   04-26-   Vixen     12-30-2017   01-15-2018   PA0002070944
       File Hash:                                                              2022
       FA941BFA59F138EC3352364DCFE60E53882E4C160B135AC3576A3D7585904F9F    20:09:11
55     Info Hash: A2813DB158284E3500CF3F569E883A30D9DF0314                   04-26-   Blacked   04-11-2022   04-23-2022   PA0002346408
       File Hash:                                                              2022   Raw
       C20A06EBBF32E8645B186C128498398F075B2B566FDCF7C9601CA9D4EEDC2A11    20:02:52
56     Info Hash: A2AADDBA9FF254421A116F968C6A6519F2B6EC67                   04-26-   Blacked   03-06-2019   03-31-2019   PA0002163978
       File Hash:                                                              2022
       A6DE7F423146F79277E08BB5F8EDC3751C4063E4D1631D975F10B2F1295AF4CD    20:02:51
57     Info Hash: 117CA95ECA49CAFAEFB42B0B343C6631B6B37BBD                   04-25-   Vixen     03-04-2022   03-29-2022   PA0002342709
       File Hash:                                                              2022
       9746EDC3063F53EBE110CFCB65D94D0E48DE56AC10EDD87A90C772E2648142ED    23:00:04
58     Info Hash: D8CC6A6F0DF7DE99DDC5578221F7EC1AD4AC5EEF                   04-25-   Tushy     05-17-2020   06-16-2020   PA0002253264
       File Hash:                                                              2022
       65AE39881C3A823068E1F574C4C80C562AEB52A9CF86F284D76BD8B8B2B19C5A    22:58:34
59     Info Hash: CB54A80CA46C7E15031F95C90A4E207C1759D031                   04-25-   Blacked   08-09-2021   08-23-2021   PA0002308396
       File Hash:                                                              2022   Raw
       E6DA8AEE619E2D4D08AAF5BFED4CE6336AA4A9F8283D933CC4AD47480D0B16A9    22:58:16
                               Case 1:23-cv-02103-SDG Document 4-1 Filed 05/15/23 Page 6 of 21

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: 8964815B3EE407A3EBFECD69C9A66DF0EFAA05A3                   04-25-   Vixen     10-31-2019   11-15-2019   PA0002211917
       File Hash:                                                              2022
       A404C4B8F66F1C6C6DA9E343BD7284ACCF468243D2AE64E4053DD9675ADF39B3    19:53:58
61     Info Hash: 17C2B0609BE9B92AE0D1C44F1D6212EA6D1BB636                   04-24-   Vixen     08-12-2017   08-17-2017   PA0002048373
       File Hash:                                                              2022
       402B867C209F7D20D0191CA572AE9866DD7F7A3F678CE452902BFACBA641A9EB    22:27:20
62     Info Hash: 42FB29936F0773461AB894640E5895EE9B843742                   04-24-   Tushy     07-30-2018   09-01-2018   PA0002119590
       File Hash:                                                              2022
       EF61072101211DEFAC88A911C5D3CFEA3D73C0C57674E9D0614DF3ED55DCA07E    22:24:39
63     Info Hash: BC31F15E2E0C297593598BD13CE5B4E549674EDD                   04-22-   Tushy     01-31-2021   02-09-2021   PA0002276144
       File Hash:                                                              2022
       B91C4397FE14831EF984CBDF4B599DE2559794FC2A95FB0BD11A86348F40D5B8    17:14:04
64     Info Hash: 4275774E7AC6841246779BB0CF9054E881B6F417                   04-22-   Blacked   03-05-2022   03-29-2022   PA0002342848
       File Hash:                                                              2022
       CD22763EE0843E6B9497D0966E1C52B8D5F1B7FCB0E9C542DFEDFC95AC3A61D2    13:49:20
65     Info Hash: B30A24C236439A9B2C65C9234830190BD3026085                   04-20-   Tushy     10-23-2017   12-04-2017   PA0002098018
       File Hash:                                                              2022
       E190CFF045FD226A2DC42A0014C64775CD37FE54BE08F0806F0D3BDE27234259    02:00:30
66     Info Hash: D180CCB76299423461544F293503A24A3ECBAE97                   04-20-   Vixen     09-21-2019   10-01-2019   PA0002217349
       File Hash:                                                              2022
       71B5CA2BE906122090168ED5474897BFE2E7A6DE27F38F921D05921FAF72D031    01:57:15
67     Info Hash: 8F45D583B36DC71140A38B289CE0AC68E193AF62                   04-20-   Tushy     01-01-2020   01-27-2020   PA0002223953
       File Hash:                                                              2022
       6DC4660CCABA32776470F1C7621A4FA83AA6F282968245CF653CA5D40FFB44EE    01:45:02
68     Info Hash: 47CE723D84C0A2028A53B98FE9431C963A280E54                   04-20-   Tushy     02-25-2018   03-01-2018   PA0002079188
       File Hash:                                                              2022
       3B4131F8980F5B1897C386893963773E40C3EEECE0EF9820C958D8248BE7E58C    01:23:24
69     Info Hash: 23CBED3813DD9DE68B4DA0E04F9F4ABCD9A951CA                   04-20-   Vixen     03-25-2017   06-05-2017   PA0002050771
       File Hash:                                                              2022
       BFE4DDB1A644BF5767CCCB7776F41D052F9509199B8CFB06D1D95E9D87C284CA    01:11:14
70     Info Hash: 99CA02602A2E66B687F9268E8EB1A347D5E3400A                   04-11-   Blacked   03-19-2022   03-29-2022   PA0002342841
       File Hash:                                                              2022
       B5493A9D95EC55F89AD2FC50FF30B82C9CF69CF0A547E3960D95C3E36C4FE904    02:55:03
71     Info Hash: 6C097F8E2DD268506A3D928774099F16FCF1D7F0                   04-04-   Blacked   04-02-2022   04-23-2022   PA0002346422
       File Hash:                                                              2022
       A599AD9EEF71FABC77029F80B0572DB18357A57D435FB6F5D32DC2362CACFFDC    20:14:22
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
72     Info Hash: 3D5E2315A5B5A6730F2D7BE6EE853CA790FFFEA1                   03-31-   Vixen     02-18-2022   03-29-2022   PA0002342837
       File Hash:                                                              2022
       6B70DD0F4DE298F139E72133BCC77A9EF5A0B4B7FF25A25895B6AA8D01BB1AD9    18:34:09
73     Info Hash: 937DC1653A02F8962CF24B303EA2796B92C0A9F3                   03-31-   Blacked   03-26-2022   04-23-2022   PA0002346435
       File Hash:                                                              2022
       637F078F7E687CA2AA5D2AB41688E4D1795C39FE369FACAE0B2F29F903F5994E    18:33:59
74     Info Hash: FD3B71019CBB5E802E9CA726B0C5C421B0E4A5D1                   03-31-   Blacked   03-28-2022   04-23-2022   PA0002346413
       File Hash:                                                              2022   Raw
       616B24219397EA9989A0CF2721183852BAD80459EA1B413837B1772011782DD7    12:04:39
75     Info Hash: CBCD2792157D511F104632A294C1F384488E7898                   03-16-   Blacked   03-12-2022   03-29-2022   PA0002342846
       File Hash:                                                              2022
       099497CD425F9C511FF9463C074FD98858992B7D69E2D6A6589E3771E6081A4E    01:18:47
76     Info Hash: 92D5BC7B567BCE82314A5D480DC48BD3645F29D9                   03-06-   Blacked   02-28-2022   03-29-2022   PA0002342857
       File Hash:                                                              2022   Raw
       57A71876B9677D9A3FFEF1396D8C4B9093C9AAB5CFAD32EB8F93E4BB471C85F2    16:45:29
77     Info Hash: 8578E84315C1726CA00BD19A6FB228412A348BC0                   02-26-   Blacked   08-23-2017   10-10-2017   PA0002086163
       File Hash:                                                              2022
       1D98E67F4DD7E4BD3678C5A8099E410C0C9FA730945A00B64826BE278256F3EE    13:36:45
78     Info Hash: 1955DF5BFBEC5C70C682AE206E2209755F572760                   02-26-   Blacked   06-14-2017   07-07-2017   PA0002070824
       File Hash:                                                              2022
       20120ACC93EE1985A60BD964204C03CC71D01758DA62FBC2131C705DCE5E8320    13:31:42
79     Info Hash: 9C80B087C925D30BA01F72FC0EAABD8EAADF588A                   02-26-   Blacked   08-18-2017   10-10-2017   PA0002086146
       File Hash:                                                              2022
       6B5DA385F81A777EE12E85036DA75583C5E8E489C435CE37C469E9E0EB289336    13:30:54
80     Info Hash: 1D4049513062B062CD16BC94DD23B350354A4D2C                   02-26-   Blacked   01-27-2018   03-02-2018   PA0002104873
       File Hash:                                                              2022   Raw
       BFD9A7A869C4408EE5737916EDE9366C530826D170EEC9698FE80B1594C94366    13:20:43
81     Info Hash: 3686A7DACD91AD65EA1FE01F6818B096CE493BB7                   02-25-   Blacked   12-21-2017   01-15-2018   PA0002070941
       File Hash:                                                              2022
       92E18C1E32D03122DE9890F2449FDB74FE2B91D7C843BC1737BA0205566143CC    17:07:00
82     Info Hash: E46B81E1A71E3AC4E1FF3BC9B79FCF54E0D2AF00                   02-25-   Blacked   11-01-2017   11-27-2017   PA0002098034
       File Hash:                                                              2022
       DC2470253D5755CD652A69866AE4B8C1BA3CBE02BD902715D2C81547060F9EC5    17:06:35
83     Info Hash: E624078D6EFCDFA76F06EA9E4048E05FF7C600C5                   02-25-   Blacked   08-03-2017   08-17-2017   PA0002077671
       File Hash:                                                              2022
       694A2F8CF6F88FE8FE7714EBD1B2415BD77F0504E2A0821729C796DEE40A36F1    16:08:03
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
84     Info Hash: 9606A2BEBD2ED49AF47787169BF9B73A4A1C9CDC                   02-25-   Blacked   08-20-2019   09-13-2019   PA0002200701
       File Hash:                                                              2022   Raw
       351673D7BB0532484059A5C5E6C65500889E456A63424B325E0A00A47AAA81C3    16:02:45
85     Info Hash: 3754C381E6B3DCC20647F7F94277B364471F090F                   02-25-   Blacked   05-24-2018   07-14-2018   PA0002128376
       File Hash:                                                              2022
       A720644C52AD3004758AA8D25963DA8527D184F26D7F0F1361D23BDC135457E8    16:02:36
86     Info Hash: 3F31920A34DA2F0CA746F80BF7B721D16EF85592                   02-25-   Blacked   03-11-2019   03-31-2019   PA0002163979
       File Hash:                                                              2022
       86BD5FCB6681EF451BFAF1B9D62C160AF11102A50E07367E5702D00426271542    16:02:26
87     Info Hash: 981535480433042862560A17C31FDF7BFC937CA2                   02-25-   Blacked   05-25-2017   06-22-2017   PA0002039290
       File Hash:                                                              2022
       ACDBF57F76B367E0367408AC5ED34DF8BBA2909687576B6122FABEFCD95F630C    16:02:21
88     Info Hash: 1E88257B5A7E167737FB457C5D93EF92AE972CC2                   02-25-   Blacked   12-31-2017   01-15-2018   PA0002099700
       File Hash:                                                              2022
       75E1D84B466A55D344D92E981136496A0BC2059DC917F25097D78843B838B776    16:02:16
89     Info Hash: 05060BDE36F9397AB023AD369BC9F9718E584065                   02-25-   Blacked   01-30-2021   02-26-2021   PA0002283695
       File Hash:                                                              2022
       88E45EDF4770BEA591F4385CE1351485DD13F9A8AB3243BA56BF9E1FD0AA7D35    16:01:55
90     Info Hash: B7B67E3BB319DA7CCC20F49FDEEFB1453D45DD75                   02-25-   Blacked   11-01-2018   11-25-2018   PA0002136644
       File Hash:                                                              2022
       CEAB41B3E7AC5F3EDD05B7347B822BEE3385F5BD66BACF239786E2116AA67CC0    16:01:55
91     Info Hash: 3E47999F76D4CC3E1A9147879EC5715BEB53BD08                   02-25-   Blacked   11-30-2020   01-04-2021   PA0002277037
       File Hash:                                                              2022   Raw
       1A6D9543588F18DDEB59826061D8D36E372B67A8B68366F4035CD308E9604EB3    16:01:54
92     Info Hash: 3322700996A03ADC28816C7F4921A496821C476B                   02-25-   Blacked   07-09-2017   08-17-2017   PA0002077662
       File Hash:                                                              2022
       E6333AAB9F162EF1D0B77FB9338861BEDBBD5562BC30CE8E45F8F25A1695020D    16:01:53
93     Info Hash: 1254BA4AAEE693A919416E31EEB6C34FCD193E8A                   02-25-   Blacked   06-04-2019   07-17-2019   PA0002188309
       File Hash:                                                              2022
       9FFC20C654174ED3F420224D0F041EFE19479564ABDBFFF760DB3852AF957A4C    16:01:53
94     Info Hash: A7B696A97C4BEA852C86BF8A9BEA96CB4C9A3B10                   02-25-   Blacked   05-22-2018   07-14-2018   PA0002128073
       File Hash:                                                              2022   Raw
       0DA0A02F8E265B68005EC6FD03EEAC066D55D2074C9D040A502ED891C041C01C    16:01:53
95     Info Hash: E895E4E69F428DABB264A9F9B1A6F7955127088E                   02-25-   Blacked   05-05-2017   06-15-2017   PA0002037591
       File Hash:                                                              2022
       5C0E107DE9B1064D5AE69C75660919DBC4250C25E3FFCD7E0A3E495F438BB5BB    16:01:53
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
96     Info Hash: A5DAB5C75BEE5E7712B44AB312CC175F0E036C7B                   02-25-   Blacked   09-17-2017   10-10-2017   PA0002086174
       File Hash:                                                              2022
       F5D6799A408A35E92232855E8EC7C1CF519E7AC2ABF55B2F52DBAB82C51BF3A4    16:01:53
97     Info Hash: 1E6673FFDE2D4711BC381D92343D6E9490A82872                   02-25-   Blacked   09-02-2018   11-01-2018   PA0002143413
       File Hash:                                                              2022
       E09507CB1D110E881CCF4EBB4F32A93FFEEF0EB92697C27664D51331A6C4FCAE    16:01:51
98     Info Hash: DD14CADBA5FFA011BB22E707E57895C27489F763                   02-25-   Blacked   11-11-2018   11-25-2018   PA0002136642
       File Hash:                                                              2022
       5609546BB533DA2AE6A28F4A901D959D933868F029272F89C5AAE4C4528A573E    16:01:51
99     Info Hash: 0B9DE4F87CA5B38A7943EE80B5167E6B7E3EEB04                   02-25-   Blacked   01-12-2019   02-02-2019   PA0002155388
       File Hash:                                                              2022   Raw
       33FF2A2FBDEBA3C1757000AB4590CB3A2EF2770A0F22C995D3C1E841194E598A    16:01:51
100    Info Hash: 5CF8ACF22C5843DABAFCAB2361A1D5D07E5821EE                   02-25-   Blacked   02-19-2018   03-02-2018   PA0002104735
       File Hash:                                                              2022
       F717E53877AF82816384375591007863F35B0195F7849DEBDAC49A5C3F1231AE    16:01:50
101    Info Hash: 53B63347AEFFE36C5758F862EBE76328D5C53544                   02-25-   Blacked   03-06-2018   04-12-2018   PA0002091581
       File Hash:                                                              2022
       A79FB74DD4ACE9AEB560F1B80683CADD6FA387571B599FFC651A275D8D919FAE    16:01:50
102    Info Hash: 729C3815122E9D62C4F62EC6CAD5CA5B5EBB95F9                   02-25-   Blacked   07-29-2017   08-11-2017   PA0002046872
       File Hash:                                                              2022
       8383058EF00B060292F786E70B34EBBEF42CD22837D4C91BE8798014ED5D1E66    16:01:50
103    Info Hash: FD566995F3728DBE3CB9331DB4DDF9D40A8AB46C                   02-25-   Blacked   06-28-2019   08-27-2019   PA0002213235
       File Hash:                                                              2022
       2B5903DE34F121905C56E7D0465FDD8249D61FE160D063D59B3046C23F738F9A    16:01:50
104    Info Hash: CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D                   02-25-   Blacked   06-19-2017   07-07-2017   PA0002070823
       File Hash:                                                              2022
       B8BAD4F22E19F55BFE7855CD52BBBD523C8B7E100DBC961031BA408CF253D9EA    16:01:50
105    Info Hash: 2A235B5AC390943D91494754632D98DC21F91C61                   02-25-   Blacked   12-08-2019   12-17-2019   PA0002217664
       File Hash:                                                              2022   Raw
       DA36FB64B2F44D21AEBA0C9894C59A022E7D8F5097E628388EF06C0BED7A6CA1    16:01:50
106    Info Hash: 7C9E406FAB73FAC20B6EAC7AE1FE5084E32999D0                   02-25-   Blacked   12-03-2019   01-03-2020   PA0002233431
       File Hash:                                                              2022   Raw
       0388173B9A6A5334727357D81BCFE3D1C4DE85EBE1BF01E463182DA5BB5141EF    16:01:50
107    Info Hash: 18919F2EEE3C81772BFAC43BB2D4F5C2EA3344E7                   02-25-   Blacked   04-30-2019   06-03-2019   PA0002178774
       File Hash:                                                              2022
       FA5C3675990FA25EE1FC5557B03F5304B2CE5922F66E12261F3A67575377E0B1    12:59:18
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
108    Info Hash: B426DA516B5F87C97B1C1D5732F040BC16B1F5A4                   02-25-   Blacked   07-24-2019   09-10-2019   PA0002199414
       File Hash:                                                              2022
       8D6DDB62698A011D6F8AEDECA858410D559FE50CDD8DF33B7527D8CBC1F54D77    12:58:19
109    Info Hash: 12B7A3C14B3A7A4A9D2712008FA31DEE6CC1731E                   02-25-   Blacked   10-24-2019   11-05-2019   PA0002210293
       File Hash:                                                              2022   Raw
       7560E11AD69B8634C114F0797C32BB5263371F69533CBDCE3F9E6DE3652ABC09    12:58:14
110    Info Hash: 7557747905C0C24C24DE739A99AA7750FBD7B24F                   02-25-   Blacked   03-15-2020   04-15-2020   PA0002246109
       File Hash:                                                              2022
       A1E83FB8FCFDDC0843A8E99258C7BD9AA92E58AEE49DE28EFDC87F121CC779C5    12:58:08
111    Info Hash: C7B9E04D1B4A48BA8521CD2A63D8E0C433228F5B                   02-25-   Blacked   09-14-2020   09-29-2020   PA0002258688
       File Hash:                                                              2022   Raw
       944EE729ECA9231D5A144C73793D40EB4EAB660D3FC94D1A4207EDA1EFF90E16    12:57:47
112    Info Hash: 8380829FBFACEF0EE48B37AF15910E96A5E8329C                   02-25-   Blacked   12-23-2017   01-15-2018   PA0002099706
       File Hash:                                                              2022   Raw
       72B9208BB759C27C1532BE6EBAB0A289A32F80E552A690ABAE2BA4752DA0B354    12:57:27
113    Info Hash: B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D                   02-25-   Blacked   10-27-2017   11-27-2017   PA0002098016
       File Hash:                                                              2022
       148BA9ADA1545D34949E4DF1AFFF8CE9F2B342DF3D5C0BE394FFAC173232A158    12:56:20
114    Info Hash: D513F1B4A7C6B72B1F1CE73FCC38227A6251E4CA                   02-25-   Blacked   06-24-2017   07-07-2017   PA0002070822
       File Hash:                                                              2022
       B1A9B067D965F663167F374E2A324CC6DF97235052305D2DF8D2BFA75A6CE26A    12:44:28
115    Info Hash: 0375A9CC6F696CF14E34696CAE9EF334733741E8                   02-25-   Blacked   03-21-2020   04-15-2020   PA0002246170
       File Hash:                                                              2022
       1C99FE6D021C575065CC1B5D4E76375B08A2CA860933F776EC1CBDB22FBC1D2D    12:41:17
116    Info Hash: 46CA93AFA14271571A631415B20065417ADA1EE5                   02-25-   Blacked   07-24-2021   09-21-2021   PA0002312682
       File Hash:                                                              2022
       4491531E1415A18A5CE460CD1A5A17FC6BA7708895E8DF280AFC43BC2296B5ED    12:36:25
117    Info Hash: 382A3BC3E3286BAFC5C00ABE0508134CF4D97A1E                   02-25-   Blacked   06-16-2018   07-14-2018   PA0002128317
       File Hash:                                                              2022   Raw
       CED8A528D5E7244505C8DE67AE8E57FECA4C869EC99651451294A395340DED35    12:36:06
118    Info Hash: FF4AA172EC0D469A97A0693DDBA0DC1A4ECC701C                   02-25-   Blacked   12-23-2019   01-03-2020   PA0002219636
       File Hash:                                                              2022   Raw
       3DECF0AAB8057B9C37D101B6C483E9EF52900F7E0F64F19DB44D782FD9354CF9    12:20:01
119    Info Hash: 67240CE0F42C9777588909086239ABE908B5030A                   02-25-   Blacked   02-06-2021   03-08-2021   PA0002280372
       File Hash:                                                              2022
       04CA4329B75F3F75ABC66A751B7820B57C4F956A749EA82616FC05382A887E9A    12:19:59
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120    Info Hash: D9261D3722C161272619A45A80E6F849B0BC63B5                   02-25-   Blacked   11-18-2018   12-10-2018   PA0002146476
       File Hash:                                                              2022   Raw
       9272236D752743F64E074A94ECCD8E592FB3F4520DD24DD9BEFF5878C22DC176    12:19:44
121    Info Hash: 67D95FCED9B00C108A63588568A4B4CC34737EE5                   02-25-   Blacked   07-09-2018   08-07-2018   PA0002131818
       File Hash:                                                              2022
       2F08A480A39A433B92CB7BE753ED72122DDC6A8669D61337B266203F90B0E8D4    12:19:38
122    Info Hash: 9A00DC56773A2DAF8A9BFE17C2984A51122FB78E                   02-25-   Blacked   09-17-2018   10-16-2018   PA0002127778
       File Hash:                                                              2022
       FBC4A307DFC7F19702E7F160ED53E04D9C37036D235F55A57AD3E47384A11A2A    12:19:34
123    Info Hash: D7849F96160CA679A287B837FEFE40DDEA87571B                   02-25-   Blacked   11-06-2019   11-15-2019   PA0002211857
       File Hash:                                                              2022
       0A445E74466B1700F1F7402E2C9F03169006656C8BA6A80CD36958EF9C0589E1    12:19:32
124    Info Hash: E10259BB09AFE9410D944641E94048900ADEF0F2                   02-25-   Blacked   12-11-2017   01-04-2018   PA0002097429
       File Hash:                                                              2022
       BB40FB2FA9D578CD64AC8B698B074D104111183A93BFCEDB62320B19FCA0580E    12:19:28
125    Info Hash: 340388F38581DF5E919342C8EBB209978EEA9633                   02-25-   Blacked   01-30-2019   02-22-2019   PA0002155138
       File Hash:                                                              2022
       C6EADA660D518FE1F1BE432D3C0ABF2A095E0B0E0CDF5A2D7FE4C87E0A364900    12:19:22
126    Info Hash: A035AD89D17FFA204EA1669362F8A2B2947F1D32                   02-25-   Blacked   08-03-2019   09-10-2019   PA0002199412
       File Hash:                                                              2022
       CF5FB70A15A302ADB5C7DC51AA916F5E8F5D7D52373FBEEAB74056948FEF6203    12:19:17
127    Info Hash: 00D4C51A29C9BECB409301B771D686F17B05B89B                   02-25-   Blacked   11-13-2019   11-27-2019   PA0002213997
       File Hash:                                                              2022   Raw
       2517AD4C9EBD5958B7B53277E98727CB70A48CAE5960B8795E50AD33A0666CBE    12:19:17
128    Info Hash: 86C5F87BA9C2618D57F79C76608F5D883C5439CF                   02-25-   Blacked   12-19-2020   01-05-2021   PA0002269959
       File Hash:                                                              2022
       58FBE5F562F65118013731FFA138E1D677C1589287C02171C3829034C0E6DAED    12:19:08
129    Info Hash: 4A3136B25E195764C6A5BFB40F2A05BF4D67FC78                   02-25-   Blacked   10-27-2018   12-10-2018   PA0002145828
       File Hash:                                                              2022
       6795789E04678B20D40454D7E8A982DB17E652E8CAF50F29E036AA400E5CC327    12:18:57
130    Info Hash: 549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                   02-25-   Blacked   02-19-2020   03-18-2020   PA0002241617
       File Hash:                                                              2022
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6    12:18:55
131    Info Hash: 42F4FC72BFE526D9442ABCD62F01232B062FAF12                   02-25-   Blacked   12-12-2020   01-04-2021   PA0002277035
       File Hash:                                                              2022
       70D50A2F962E9E69D64450F1255A37496A84DC51CBC070FC62FD9604E9F44960    12:18:53
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132    Info Hash: FC737FCE7A9548867EF99172A2951C431AA74E03                   02-25-   Blacked   10-22-2019   11-05-2019   PA0002210294
       File Hash:                                                              2022
       B5E86EEBB2CF368BE09B3B094531A43227C492A789F82F0C087CAA730C2C7F61    12:18:51
133    Info Hash: FF7A248CB1917FE0B640DF3BAF9478EE988C020E                   02-25-   Blacked   10-09-2021   10-19-2021   PA0002317059
       File Hash:                                                              2022
       63738DCB991394F33CAE976CF9E706725031BEB6577331314D6D38993309080C    12:18:51
134    Info Hash: 37843E981F023C4F8A614866482FB097EADB6190                   02-25-   Blacked   10-17-2020   11-05-2020   PA0002263387
       File Hash:                                                              2022
       E3220ED2ACA24FFAB45B969A40C2B53659F98D2F13A0E8C3D2A45D678DE4B327    12:18:33
135    Info Hash: 966AF5D11568D7D5896168F66E882245BA8A5F07                   02-25-   Blacked   01-12-2020   02-04-2020   PA0002225587
       File Hash:                                                              2022   Raw
       13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2    12:18:33
136    Info Hash: 14B10A509F9801CDB0F3A26FB468B879FA1052C7                   02-25-   Blacked   03-07-2020   04-17-2020   PA0002246118
       File Hash:                                                              2022   Raw
       7111B20609AC2DDD76A51E9E2F4910F0DFD86179DD930790BD97963AE5C365E0    12:18:27
137    Info Hash: 6AF4F17AD9DC19F64DE641CBE672D9C7CD699D8E                   02-25-   Blacked   08-02-2021   08-23-2021   PA0002308428
       File Hash:                                                              2022   Raw
       985A44BBBDDAAF38195EA059D5BA0757A510E4231200FF28BD37B8EAAEF53EF4    12:18:27
138    Info Hash: 2633CD97981B90290A6B07878DB24E95843051FD                   02-25-   Blacked   06-05-2021   06-15-2021   PA0002296924
       File Hash:                                                              2022
       12BFDB30AB4F19B7B4077D5B64A15D8A0C2A2F8AB5C3A0E5D9212F62656E8838    12:18:24
139    Info Hash: AE7CFE431BC4E933E92E11032C25A67D4CA61B79                   02-25-   Blacked   12-14-2020   12-28-2020   PA0002269086
       File Hash:                                                              2022   Raw
       F638DC8E8853C8CF9176D97CB6027BDD2DBDB470C7EF8A8C9BECCCEB3A4B6104    12:18:09
140    Info Hash: 77537958D009D974B9970112342BCA232614C16F                   02-25-   Blacked   01-10-2018   01-15-2018   PA0002070942
       File Hash:                                                              2022
       7958C06428989993EA479C3C4034098143E30A268F7B350080BCA34C7DCF369C    12:18:09
141    Info Hash: BCC18BD6272372F3CFC59A1BE674F61C4788F0CB                   02-25-   Blacked   02-24-2020   03-18-2020   PA0002241627
       File Hash:                                                              2022
       8A56C37DE8CCCDAA7BBD3EDFA4DC0F49439A4A4CCE0BED2C6768E4FC69BA25C0    12:18:02
142    Info Hash: 978BB5B4FE80AC5DE5D635DDA303EDB8714F6725                   02-25-   Blacked   08-28-2021   09-21-2021   PA0002312681
       File Hash:                                                              2022
       B34305CD560E6A892807F09FBC9BF46107CF8C85787B9A16B0C805684A0B706D    12:17:53
143    Info Hash: 53115092326FFAC693EC8DF35F7B913BFB316E73                   02-25-   Blacked   07-12-2021   09-21-2021   PA0002312676
       File Hash:                                                              2022   Raw
       8BE02C4F01263EA20AECD08608CD4E80226C3E940766E930747627F82FFE05D7    12:17:51
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
144    Info Hash: 978CE898A8AA756DCFE919BBA0A2EABA859D93FF                   02-25-   Blacked   03-29-2021   04-14-2021   PA0002286726
       File Hash:                                                              2022   Raw
       C920A383263D3E07545233660661F2D4A82F68D612C36CB7DC1843BD8C41C393    12:17:50
145    Info Hash: A2285D359C1A11FC04C46A99A488747938358B65                   02-25-   Blacked   10-12-2020   10-22-2020   PA0002261809
       File Hash:                                                              2022   Raw
       985663042B32496D35EC0B21E21BFBA3F6AFF2FDE00ABE14235EABA40310DB82    12:17:46
146    Info Hash: 9E44731E8EC3B6FD476E0A33695303251A58C476                   02-25-   Blacked   05-23-2020   06-22-2020   PA0002245638
       File Hash:                                                              2022
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140    12:17:38
147    Info Hash: 1A6470E21E54EE628069047098E9B5DFB9B17ED2                   02-25-   Blacked   09-02-2019   09-13-2019   PA0002200702
       File Hash:                                                              2022
       DC07CEA2B9742F1F04351D7A11868746045D5A1DF8F5A6E0AF00D9C69779AB3D    12:17:36
148    Info Hash: 3981818C672261E5A1A0D5B561F7A7FEF98A7805                   02-25-   Blacked   09-22-2018   11-01-2018   PA0002143419
       File Hash:                                                              2022
       35C429C3F1AF53B7D00E899665896B85A9252E0DFB8DF5CEF31D564AF0FBA1F0    12:17:36
149    Info Hash: C3D72FCFAFB0CFE653D94833E141952989C54EF0                   02-25-   Blacked   10-29-2019   11-15-2019   PA0002211918
       File Hash:                                                              2022   Raw
       C5E9E52AF063FF4C3D1ACC010C7AFEDD9C2DA2FDDE2AD22AD63E9D5E06EE563F    12:17:28
150    Info Hash: 7B57FCC04E365EC8AFA37E1EEDD1AEC885BB92B3                   02-25-   Blacked   12-06-2017   01-04-2018   PA0002097418
       File Hash:                                                              2022
       926027C8A4F2458C26CBFD5B8F0F2C5CB249012E5DF79AA4493326F8BDF1A655    12:17:26
151    Info Hash: 7F06F0E07A10143EB2C8673FADA7B21358A4AB2D                   02-25-   Blacked   12-01-2019   12-17-2019   PA0002217663
       File Hash:                                                              2022
       8730E641DB888136CD4E9A1EA37C129852A6999082620E5C071F489A6055E333    12:17:22
152    Info Hash: C60F238231FA7D72F30AD0AC8AEE75366CE5E5E8                   02-25-   Blacked   02-09-2019   03-11-2019   PA0002158599
       File Hash:                                                              2022
       86718A831FFFC7E5DB83BC490E1467BCC568C94B6FBF1B32F074F50FABE991C6    12:17:22
153    Info Hash: 7D876817AF91151926A2C4590E9EB0D38F9BB646                   02-25-   Blacked   08-13-2019   08-22-2019   PA0002195504
       File Hash:                                                              2022
       5E27A0458B72C6D803880871DF27DACA94012E7B8B48AE69B798C9AFE26CDD40    12:17:20
154    Info Hash: 2E7DB9DA1E12BC2963F7DC66AC300417AD983BC7                   02-25-   Blacked   12-13-2019   01-22-2020   PA0002234865
       File Hash:                                                              2022   Raw
       358DA725020AF45E0B0CAE9E1D26EBE160E66995B1C4815EE09665B1B4F93BEF    12:17:19
155    Info Hash: BA4548E157820A3DF2C7D690EA08DB61F12C949A                   02-25-   Blacked   02-06-2020   02-20-2020   PA0002229053
       File Hash:                                                              2022   Raw
       95514F92F5CF9A316B04E53BA54298EF21933141B0FACE94D8C1B7C7EE95CE39    12:17:17
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
156    Info Hash: 973A870D555049DC68BB9A3D667902BFC69FBD3D                   02-25-   Blacked   08-25-2019   09-11-2019   PA0002199991
       File Hash:                                                              2022   Raw
       F291E9A5D2284337B5F9CE58EF735849D834C5ACF9618C0F86C2564FA7B7F1B2    12:17:17
157    Info Hash: AA4E7F1D2EB7E81F78A5DA7811E1A2AE67EF4C6D                   02-25-   Blacked   03-26-2019   04-16-2019   PA0002187002
       File Hash:                                                              2022
       A53AE027BFF6811943135C73BA9D92C172E7625C5C40075D1FB5C2E3E81F8F38    12:17:17
158    Info Hash: 07505D1BF57DF4D79F0E6D0C802F273714F82B69                   02-25-   Blacked   04-24-2021   04-27-2021   PA0002288981
       File Hash:                                                              2022
       44F977A16AFCEE2BD4C403DBB7510F28AEE06CA03510AAF7793782EF9C9D86CA    12:17:16
159    Info Hash: 40B618515790CB5245901B36028EC5CF962DB9B0                   02-25-   Blacked   02-20-2021   03-08-2021   PA0002280369
       File Hash:                                                              2022
       3B4F63B3EA800CD166A83F1D6D63EA40DA6B878EDF8034E5928B9FB164E6E88C    12:17:16
160    Info Hash: 90AF3C86FC0ECD0146DDFE57BFEAA4E26D079194                   02-25-   Blacked   07-06-2019   08-02-2019   PA0002192304
       File Hash:                                                              2022   Raw
       6C07F7106D560D21F03E3A88304E502368948D9E4E838909E453898AD6BEBA00    12:17:09
161    Info Hash: E452D23913E053866E31D6D6F92DE54C310DA003                   02-25-   Blacked   01-22-2019   03-24-2019   PA0002183202
       File Hash:                                                              2022   Raw
       8DB567512505266F30DBA8F4B04557C917B8116EAC2FCB2C19ABC6570946CFE9    12:17:08
162    Info Hash: EE4D29BA667E69950AA31279F7FA846BF696BF9D                   02-23-   Blacked   08-03-2018   09-01-2018   PA0002119596
       File Hash:                                                              2022
       CBBA895BE4865BD867EC9F1DE3100FCB5C172459C4E0F59EDC51E5818599B405    21:32:04
163    Info Hash: 979CD4F798E6D0277F211C43B2DEAD821781AAB7                   02-23-   Blacked   09-05-2020   09-29-2020   PA0002258686
       File Hash:                                                              2022
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34    21:30:00
164    Info Hash: B038E50CE96EA99AC02E1BCF051643E7314A3667                   02-23-   Blacked   09-12-2018   11-01-2018   PA0002143426
       File Hash:                                                              2022
       72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37    21:29:32
165    Info Hash: 0616906E5B0D445A8FB469D45908C91D24F6CD2F                   02-23-   Blacked   09-27-2018   11-01-2018   PA0002143428
       File Hash:                                                              2022
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53    21:28:37
166    Info Hash: 540D644F7CF4DC47791772863E6BA03A72606F6D                   02-23-   Blacked   02-12-2022   02-14-2022   PA0002335505
       File Hash:                                                              2022
       F978C6F42E86569866612143F5CEA150485BFF0DB9B90999F20D4408700E2B1D    21:28:05
167    Info Hash: 0B20D0F044F9E1FEDFD0715E8A9208D30590133E                   02-23-   Blacked   11-01-2021   11-11-2021   PA0002321320
       File Hash:                                                              2022   Raw
       E57854D7F55E65BC990A4574B4F10BA1C21C57C434E79D9162DFA99C412CDC34    21:25:19
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
168    Info Hash: 6A0E4F47E6B770D53A96234596721B9EB309ABC5                   02-23-   Blacked   07-25-2020   08-11-2020   PA0002252256
       File Hash:                                                              2022
       7C515B5F023A5BB71D35A3A323BAC5736B51C521139A3189D8D070EAF8E0997A    21:25:16
169    Info Hash: B5914DE7FC076F4B70CA7EC8D44009E18051C2FB                   02-23-   Blacked   10-30-2021   11-11-2021   PA0002321300
       File Hash:                                                              2022
       9E66B61434C8922F9832D50F9C49AB1E49F11C80E79615285C9C1216EAFACA90    21:25:11
170    Info Hash: 2F73A144B780B7D386C021B9DFCA2C674931DEE8                   02-23-   Blacked   03-21-2018   04-12-2018   PA0002091520
       File Hash:                                                              2022
       F85AE75227D8B66E7A0DEAC0477536890D8F9ECE99E4FA681CC88AAEC3688FDF    21:24:11
171    Info Hash: 4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                   02-23-   Blacked   08-31-2020   09-05-2020   PA0002255473
       File Hash:                                                              2022   Raw
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31    21:24:05
172    Info Hash: 8340DF7A3A5C43A154B8A190F8EB6010786137E1                   02-23-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2022
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10    21:23:21
173    Info Hash: D351628EADEDD6324BC996E625934E8314F4AC8B                   02-23-   Blacked   10-03-2020   10-22-2020   PA0002261803
       File Hash:                                                              2022
       D904AA1F88C7A7CD122A05DBC80230E9C89977550F62C666B36FDF3007340AC2    21:23:21
174    Info Hash: 0B3211C8AA683053AD9C2205D34C75107F839A20                   02-23-   Blacked   06-26-2021   07-08-2021   PA0002300662
       File Hash:                                                              2022
       B31A11000A19FCB59304064245993EEE63E01F14BF15B7D0776CE1173C608E7F    21:22:32
175    Info Hash: BCBD8FAF1DB6CBFA47BF0C1255C8AC1654C2ECAA                   02-23-   Blacked   12-04-2021   12-09-2021   PA0002325833
       File Hash:                                                              2022
       DC9C7AF7C5D6B7CB9A62E46C3E775F52B2D54577D11AEF7850CB200CF1E443CB    21:19:50
176    Info Hash: C42EE371002AEEA77C5452EDB31E0132A3D47B6E                   02-23-   Blacked   12-13-2021   01-17-2022   PA0002330111
       File Hash:                                                              2022   Raw
       8F86F2EA5E22176E3351BBF65BE24B9C737E9DF52772F1B0CFF2916A66F40C20    21:19:41
177    Info Hash: 65F37FE17537496C1BE553A0EB8C260788E46A02                   02-23-   Blacked   10-11-2021   10-19-2021   PA0002317052
       File Hash:                                                              2022   Raw
       361ADF7C86F02EF214E053C78F3ED35534451586D87CB71E1E13F09D433F6F38    21:18:54
178    Info Hash: 7A65B2C57EF88AE976AD94C7AAB3416BD5DEA644                   02-23-   Blacked   02-07-2022   02-14-2022   PA0002335458
       File Hash:                                                              2022   Raw
       9A7E2A81CCD393B971588C52B96044830AC088C83B01F474ED17B21471D05A42    21:09:22
179    Info Hash: D70316B223A58E7A96123A8EB37CAE5DF0ACDB64                   02-23-   Blacked   02-05-2022   02-14-2022   PA0002335503
       File Hash:                                                              2022
       2AC3FEC454A28DC979BCAA5A0682B453AF715708C5FDA61F4DD3CF8718391E62    21:08:41
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
180    Info Hash: 3D7690B89943E78EE1B015364D6D983919E05E73                   02-23-   Tushy     02-06-2022   02-14-2022   PA0002335460
       File Hash:                                                              2022
       E919702C0786B00D7E76B14CDB47ADFBA8636C0FB7FD1134F9CA5E95CC1FE9AB    21:08:40
181    Info Hash: 98B3583856739205901AC1C8B78514AA249BA34E                   02-21-   Blacked   05-22-2021   06-09-2021   PA0002295591
       File Hash:                                                              2022
       99EA22FB08A7AA82E2ECBAF9760FE4A7B81918550A0E7638BD58B23E9B19CF59    21:07:26
182    Info Hash: 41A572496B878FFAE77C7A757CBAE1ED0EB9D57E                   02-21-   Blacked   08-30-2021   09-30-2021   PA0002319882
       File Hash:                                                              2022   Raw
       FF125D9A09EA9469F302C188E821F889073D4286F770D8D1FA88C6E3E13AC817    21:01:29
183    Info Hash: 7EC81FF45A10217A5BB8F179391B7426D0460D5C                   02-19-   Blacked   05-20-2019   08-02-2019   PA0002192291
       File Hash:                                                              2022
       98972659601A4C5D7D5EF686AA1C0D84BFE042D66745238864169DB7171806E3    19:25:00
184    Info Hash: 6471AC811C89A07BC2860B0F2CEB25A256A6B2F9                   02-19-   Blacked   06-06-2018   07-14-2018   PA0002128447
       File Hash:                                                              2022   Raw
       77A22F4BCC03C668ADEC31A136250658913A835D98743A4130ED9B6454501909    19:07:45
185    Info Hash: 0ED1618079E29D4BB708465328D67B227B1AA795                   02-14-   Vixen     03-10-2018   04-17-2018   PA0002116743
       File Hash:                                                              2022
       74BFE94A22A1AE503CFC1932F5AD24D246D29B424A39F00629A536CC93B83BAF    21:10:34
186    Info Hash: A502765EE8927BE551DDB6D0A52CDB57F1048934                   02-14-   Vixen     04-10-2020   05-05-2020   PA0002249031
       File Hash:                                                              2022
       36E4BB9A35891935F9225C04376E5EB63F648997444FD278004D04A6708901C9    21:02:03
187    Info Hash: 66349A709F8863561BAB6DACD648456B0B55BF25                   02-14-   Tushy     03-01-2020   04-15-2020   PA0002244962
       File Hash:                                                              2022
       60E87939C977C66C07DD5FDA435CFC43B92F7FB2C73AE9DF288A5885156E4A39    21:00:25
188    Info Hash: C5BA5E243166DB830E399E8739882FEE8D0A6D84                   02-14-   Vixen     10-11-2019   10-21-2019   PA0002207779
       File Hash:                                                              2022
       F85FA20EA3D5DCE116E2BACDD4D186DACBDD85D3AB44C27B658DBBC0819C4B71    20:58:34
189    Info Hash: 9EF1697DACB071381C0A2D332FA66FA85F359C74                   02-14-   Blacked   07-27-2020   08-11-2020   PA0002252262
       File Hash:                                                              2022   Raw
       66F290059B0AF3622E0841D66009807CC8CCA6EE29AF736E370C18BABC4C4885    20:58:22
190    Info Hash: 100B6F9C5A2944DB7DF3364E036D66FFC17BE1A1                   02-14-   Blacked   10-04-2021   10-19-2021   PA0002317056
       File Hash:                                                              2022   Raw
       FF6772AB803402F0031BC3D14912E9E4806C794228358FCF16C55D52261F36FF    02:59:05
191    Info Hash: FCF2223C2AFD2901C1AC8C9EA95467B555E65E1E                   02-14-   Vixen     01-14-2019   02-02-2019   PA0002155387
       File Hash:                                                              2022
       A9596964DEE36F1C6190EF9A49570A4D435010B85BD899886799BE731C4B6A07    02:45:34
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
192    Info Hash: C5F97651D6D0ACCAF80962B6D247D3DB106817EF                   02-14-   Blacked   03-31-2018   04-12-2018   PA0002091516
       File Hash:                                                              2022
       E275AC4E3CC73AE8590AFE10FDDB66AD111E7FF023E5E17F9F8AE2B5513A30F8    01:24:43
193    Info Hash: 57D55CF2E1C375BBFAB76A1226219452189BF550                   02-14-   Blacked   12-03-2017   01-04-2018   PA0002097460
       File Hash:                                                              2022   Raw
       77C24A8664F1F1E61C4333D24E05A15885B28F6EF0CFB4B8F73772A06D7A24EA    01:23:13
194    Info Hash: F1C42EEE6A5C0C66BE5312B87E57F3BB13D4FF14                   02-13-   Vixen     03-27-2020   04-17-2020   PA0002246166
       File Hash:                                                              2022
       DD4796B449317DB7C5EA04F3FA3518700E17FCEB633AE40D0361FF3C98D3E178    13:53:59
195    Info Hash: 70ECB51C4FADD0D244D1FE108746EE2264F69820                   02-11-   Blacked   01-24-2022   02-14-2022   PA0002335489
       File Hash:                                                              2022   Raw
       6DA9802200B869DE388100460A735DADC6965B379326EAABC4DAF374BBF33E96    00:14:28
196    Info Hash: 23118C154A2FD4EBC3BD00500D2DCDEA4F2C56B1                   02-10-   Vixen     03-20-2019   04-17-2019   PA0002186982
       File Hash:                                                              2022
       3DA5CEB1E2331B505481C38046515105224F4DBBA22196663E8B26FDDBA4A8E7    06:40:44
197    Info Hash: A13372D383B6487823771167C3024FF64D0BAF6F                   02-10-   Vixen     12-15-2018   01-22-2019   PA0002147905
       File Hash:                                                              2022
       966A72033B80F407CEC791BCFC86062A5AE505676C5DD0017BDB610154691AE2    05:28:53
198    Info Hash: FBB1E3387B5D032B30B9137E05F516E696DC5CC5                   02-10-   Vixen     11-10-2018   11-25-2018   PA0002136725
       File Hash:                                                              2022
       B9956D883B639ABA09E7C17604A1DE4661B56E9371D9A95D7CB251267123EB58    05:28:52
199    Info Hash: 9CD7CFD962DE7804CF2507733B747EEB28B25D1E                   02-09-   Blacked   06-07-2021   06-15-2021   PA0002296926
       File Hash:                                                              2022   Raw
       CC3818D230E86A51A6697869E4F66F58703FCE9CA81ECB5782A8A652486993F1    23:43:58
200    Info Hash: 190306A32526F5F23C30DF8C72FA6E6DF8379A4B                   02-09-   Blacked   10-22-2017   11-21-2017   PA0002063627
       File Hash:                                                              2022
       E765F31400C268D4EF470BD7C0F9FBD6CB314DF83DC20E20F1B131F0A4332BC9    21:49:15
201    Info Hash: FEBFF678BE8078D52D7202EC8733295A08C849D6                   02-07-   Vixen     07-03-2017   07-07-2017   PA0002070827
       File Hash:                                                              2022
       27270837B050427F86E62D16A469BF25334342E9E66D41E1F816B7FDC1F74DC4    04:03:43
202    Info Hash: 9D0DD6ED44118B4E55D80196591F7AC42E295976                   02-06-   Vixen     07-03-2020   07-16-2020   PA0002248578
       File Hash:                                                              2022
       738DDC3A312718766B64BDB17DD2846B5E1715AFBA943EA819CCE5A2066B4BF7    18:35:04
203    Info Hash: BF0780F2FFDA83874CCA51107D499AED2E52AD92                   02-06-   Blacked   12-08-2017   01-02-2018   PA0002097423
       File Hash:                                                              2022   Raw
       185333BE464349DCA0F1A1EF81E07CA70178F541403BEA8030689D84FB78CD67    18:34:28
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
204    Info Hash: E9DB8BE26B56BFF69AC9279777644AE132988A8F                   02-06-   Blacked   11-25-2019   12-09-2019   PA0002216262
       File Hash:                                                              2022
       F83F1606590AC7256D37203AA4280E8892E6D55FE39E51AEFFF1693785E7D656    15:21:36
205    Info Hash: 11317BD69D7E2FE51E3BDDC1C53B65643242CB9C                   02-06-   Blacked   09-28-2020   10-22-2020   PA0002261800
       File Hash:                                                              2022   Raw
       F63C87FC2DE9AF3AE5B0803EA75F2ECD3EE51ACC21B0A12F11F155DB8E891C77    15:20:16
206    Info Hash: 7927D991B118B583CD71828F2F63A12B4635B5E7                   02-06-   Tushy     05-21-2018   07-14-2018   PA0002131769
       File Hash:                                                              2022
       CAA25AAE87488D48B2B8333738DE97E8D7A15F9D5D305EBF031E8A89416C5E3C    15:18:25
207    Info Hash: 31ABA0B21D81BC8ED066320EE2A56C75B5C91877                   02-06-   Vixen     05-29-2020   06-16-2020   PA0002253260
       File Hash:                                                              2022
       5AA78724398529E64D86597C0DDFDC8109760EC4D253C8A36CFF17AE3C768950    15:16:19
208    Info Hash: E16BF2312FEAFFDA0DFD45F8DEC8F8D38281D1D4                   02-06-   Blacked   02-08-2021   03-08-2021   PA0002280363
       File Hash:                                                              2022   Raw
       A0077A2CCDB176BC6A42D6A5511A8948BCA5D56EE3E1A5D3707EF868FEAAC87B    14:56:58
209    Info Hash: C1242C6BAF05ADCC2C4FB61D40FAC6C469F25E9B                   02-04-   Blacked   04-25-2017   06-15-2017   PA0002037576
       File Hash:                                                              2022
       7AF74E7CE4DBFA32A916600479860969834042EF0CFFF0FCA71170B13DB51AA5    00:06:00
210    Info Hash: 0C6C0C31980EB1B7FC0BD5D3BE2436167D73819D                   02-02-   Blacked   12-20-2021   01-17-2022   PA0002330107
       File Hash:                                                              2022   Raw
       F6D29449BE73E94125DD3E552A3091094642E5D41C9F7475AB8C868D0DC4C7C7    03:06:13
211    Info Hash: 4A7E50403E077C6CFE5F4E27B9107F54F465601D                   02-02-   Tushy     11-21-2021   12-09-2021   PA0002325830
       File Hash:                                                              2022
       5191421E1753A446B96ADE902B5C16723834281B47CEA111A8F7C3D1ACEEE4EC    03:06:09
212    Info Hash: 3F1E4F5B33AD60766F9B6E48F7B1F01966C7953D                   02-02-   Tushy     11-28-2021   02-14-2022   PA0002335497
       File Hash:                                                              2022
       1834710524F74EC2B9A45E00D2EEE8343131B7FB1A25895C7F9AC9A28393D893    03:00:18
213    Info Hash: 45BD7EB6EC3A335403A10A66A52919DBE8FD0208                   02-02-   Blacked   02-14-2020   03-18-2020   PA0002241448
       File Hash:                                                              2022
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B    02:59:09
214    Info Hash: 09B25396BAE7CAF1675EFF10B02679AD119B85C2                   02-02-   Vixen     05-14-2021   06-03-2021   PA0002299686
       File Hash:                                                              2022
       4ADF54A32B6C95E8B5EC117CB4647E7BD0BF1C371865CF19DC19FC1483F8AAA0    02:51:32
215    Info Hash: 79F50E3960CFE36B1F1E044B222200097AA1DFEF                   02-02-   Tushy     04-11-2021   04-27-2021   PA0002288948
       File Hash:                                                              2022
       65513133DE6896A6FF1FF80BF1E9FF0B73CC9F7CEDE904744AC67802B05CF59C    02:51:01
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
216    Info Hash: D82B3D04FC3C942F5380175F5BD7A953DBFDBE7C                   02-02-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       E18B9AE8F32CC0841E9389E6353EAF180393E302517BFD010DCA54AC172C2E1C    01:46:01
217    Info Hash: C4DB1B3F78C01434EC9B81231E2066634E6311CB                   01-27-   Blacked   01-02-2020   02-04-2020   PA0002225581
       File Hash:                                                              2022   Raw
       BCF1D35246A971E1C03E3D9E86D3FE928722E4FE1FE37E94884D8A69C71036A6    20:41:31
218    Info Hash: 4A1780EB0A60E46C96E4099F658B26C45D741B00                   01-27-   Blacked   11-16-2017   11-21-2017   PA0002098042
       File Hash:                                                              2022
       CE5DDF0B2E8D0BCF73EC62DF62E931C1161177264A9B9E1DDAC9A8784A9E8751    07:42:32
219    Info Hash: 2678EAFEAA17B13F3E03CAFA1C750650C263DB4E                   01-26-   Blacked   12-06-2019   12-17-2019   PA0002217665
       File Hash:                                                              2022
       65C37E3445FC8D4C631ADD92D2B928D7799AB4561E16527E1493EE6868429BB3    02:06:33
220    Info Hash: E077B1FF542F9813257F25F80DF621F1EC832879                   01-25-   Vixen     09-06-2017   09-15-2017   PA0002052844
       File Hash:                                                              2022
       EC1E7E13EE38E1591982597045E286D13C2DB055954C0DC58390E0E2C8FB5B21    10:59:16
221    Info Hash: 2D9075EBB1F26DF17BDDA3A97A44F322D12AFCB4                   01-25-   Blacked   01-12-2018   01-23-2018   PA0002101755
       File Hash:                                                              2022   Raw
       D16DF83A00305C34F08B013F7C1AD485D4856A3B0BC2CDD84EBABC859EDB141F    08:09:37
222    Info Hash: 59D30252136542919AAE23F0C7E881632E07F778                   01-22-   Blacked   02-19-2019   03-24-2019   PA0002184061
       File Hash:                                                              2022
       18028443C534E892FAB03BF5A273EA44B0E46C6BDAE9160F25423FB826C12963    22:48:51
223    Info Hash: 230A6D45AD01B4CC67F19BABB58E68B928C42502                   01-22-   Blacked   01-10-2019   02-02-2019   PA0002155382
       File Hash:                                                              2022
       0514D07FB08BE468DC58262E31A69232E4D3FF1697271B02E7E5B031B399976B    06:49:33
224    Info Hash: 37107D709399CD5D5D227EF421460DEED14EEDC8                   01-18-   Blacked   06-09-2017   07-07-2017   PA0002070825
       File Hash:                                                              2022
       D91E2B5F0EBE10E4DAFED157F0901DAF06B7739E0C65D1CCA564999394D8E235    01:38:42
225    Info Hash: 97D72EF918207B057716A7250623FD27471D7CDF                   01-17-   Blacked   05-15-2019   07-05-2019   PA0002206387
       File Hash:                                                              2022
       6C5359230EBB63CCED70A9217186FCB3B8D1F6D97597EB096CDD94AA7ED8F9C4    04:16:43
226    Info Hash: 9536019879F17F3B90AD722E8B0FAEC984EEEF5A                   01-08-   Blacked   03-03-2019   04-17-2019   PA0002186905
       File Hash:                                                              2022   Raw
       1B470AFFB7BF459EE95FEC985D8EF40364FA790362F7C259BA48CC55F111B858    00:25:15
227    Info Hash: 51B937DE9EC1865F4B9FA53D0F08E4E61CCB1DF9                   01-07-   Tushy     04-06-2019   04-29-2019   PA0002169945
       File Hash:                                                              2022
       FBB429D162F8CAEFBBD6E5C5AAE45CEC1BB3899E05F7C3C90AAEE54608CFA878    22:00:12
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
228    Info Hash: CA9C1A77C9BAC47BC3A59D3009DCAF3A444BBA43                   01-05-   Tushy     11-27-2017   01-04-2018   PA0002069335
       File Hash:                                                              2022
       101196CEF4412C52542EF3A9464D56F0668DBA06995B0F1785FE72F746EB491A    00:21:43
229    Info Hash: 3CAED54419E7040926306C7CDB90543A60836017                   01-04-   Blacked   01-20-2019   02-22-2019   PA0002155135
       File Hash:                                                              2022
       F73C3FBED5EF9B2D00D2257BB46E1AD2C2F9BCC95EAD6734B941C6606DF4737E    22:47:16
230    Info Hash: 1D2FD532FA5B617A184A7544DBE4E872B1D9D43F                   01-03-   Vixen     01-24-2018   03-02-2018   PA0002104759
       File Hash:                                                              2022
       8AA0BD90798BFC1DF4B7B509BF22564F8BA03059DA406A399BFA4E231F9DA12E    19:56:17
231    Info Hash: 41FB2CBF966E46F22A25FD76BDD410A8471049EC                   01-02-   Blacked   06-21-2021   07-08-2021   PA0002300661
       File Hash:                                                              2022   Raw
       DD4417468B662B9827290D264D5B54C111AC890547FBCB6ABBD60102A932603B    22:08:10
232    Info Hash: 999C03253CE0755916BEA619580CA77216F552E6                   01-02-   Tushy     04-16-2019   05-11-2019   PA0002173879
       File Hash:                                                              2022
       B707565A7B07155F641B6F9D04B5CF088B456914F821B4B7312967FEF8E1AB43    22:08:03
233    Info Hash: AF5E9F5A7C0F50A3A0CCCA08C875B36921047704                   01-02-   Tushy     09-28-2019   10-21-2019   PA0002207776
       File Hash:                                                              2022
       21CAD60EE506BBDED08963BA90DAE8F45CB680BDC66E1BB515F46060D4549B4C    16:04:32
234    Info Hash: 388E7ED27703F4B83AC8FC4EA6512E7B4FBC5AEC                   01-01-   Blacked   04-07-2019   05-28-2019   PA0002200775
       File Hash:                                                              2022   Raw
       262B5FB839942C0084068E0031AADA76ED68D812EC7C6AEF113473B261AE1A29    12:51:21
235    Info Hash: 2D1BBC3EDC4292008BA31F08663C522EC5D142A6                   01-01-   Tushy     02-05-2019   02-22-2019   PA0002155146
       File Hash:                                                              2022
       974A8E5FA1CC325E1BF682850A82888E76D55A8B7B82654D46B500635D723C1C    06:33:11
236    Info Hash: 9E7AC67ED84D7D04BF3CC582B9C85202AE696326                   12-31-   Blacked   04-05-2017   06-05-2017   PA0002052859
       File Hash:                                                              2021
       F2A48655FBEF5FF6669D03A8713DF2668EB11CC499D2C41070BF7E2378288216    17:46:04
237    Info Hash: 4FF62836FC3C509617EE5DE7658EAABE045C0BA1                   12-28-   Tushy     09-13-2017   10-10-2017   PA0002086153
       File Hash:                                                              2021
       B503C2DBE8975B42C6C5BD1586A5CB87A268DE515B3607996BB86FB7A7869D0C    19:21:48
238    Info Hash: 8A906C5A23F35028EFDE5B9C81D9EE277ACA0275                   12-28-   Vixen     04-24-2018   06-19-2018   PA0002126671
       File Hash:                                                              2021
       43D9A39A71EC62D1217BFFF148FE60F03596FFA9FF4E1C286370A80E90AD5222    19:16:26
239    Info Hash: 43E0D25E70530A6C6837D3E3EBC16B958F2E24AC                   12-28-   Blacked   03-28-2018   04-12-2018   PA0002091513
       File Hash:                                                              2021   Raw
       FE6FD35082C56D4DBBAEEFF99C16EAAB45C0602F2365CD617DFDDD89F06D73AD    19:14:11
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
240    Info Hash: 039F4779148D3E374D990283A83AC46A0219DAE9                   12-28-   Vixen     04-19-2017   06-16-2017   PA0002069291
       File Hash:                                                              2021
       D78777E49C3AB342A1C91DB95A7EAE7FACADF2B27E10773BCFDC6A456EAA991A    19:13:22
241    Info Hash: B219D12248F1CA666493E6415186170418E22D01                   12-28-   Vixen     12-05-2017   01-04-2018   PA0002097413
       File Hash:                                                              2021
       3B5FB6A315906FE1B87D64F91BF0396215C2D306AEBE07432BAF3C3931BC0A18    19:12:59
242    Info Hash: 2FE3DB21DF0D396DD681E23816AA6AA15F59E6B6                   12-28-   Vixen     12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2021
       A760C42F362D9B2CBE12463BF6D84ACB9ABA030CC0A976BB24915B39D0F79D04    15:47:39
243    Info Hash: A6F189AFF3929996CFF5F25DA60AA451873C0FC4                   12-28-   Vixen     11-26-2021   01-07-2022   PA0002337919
       File Hash:                                                              2021
       5ED45691E4613CA077BCDAD75EFDC123C707B406CF072FFEE8EC062927ABCCFE    15:43:18
244    Info Hash: 8F5305E4A5285CF5A766334ABC97D190CB1AC874                   12-28-   Blacked   09-25-2021   10-05-2021   PA0002315288
       File Hash:                                                              2021
       84723E9F05287A7F8EA5504E6382D15F7CBAA540619211B9334DD6B6647267BB    15:38:33
245    Info Hash: E11A1E9101E1B91DE9CE8EFBAE3ADF3B367EF862                   12-28-   Blacked   05-04-2020   05-19-2020   PA0002241475
       File Hash:                                                              2021   Raw
       497BACBB40344F2F603F96CB10AA606CA1AD9DEEEC152FF1A8960302C7B18C29    15:36:22
246    Info Hash: DC8EBE5A0710690ABCC9E2F8890B2DE95E767539                   12-28-   Vixen     04-03-2020   04-17-2020   PA0002237302
       File Hash:                                                              2021
       60EC07A4A9AA06DC825CFB212D29AB148410F5AFD43D4323AFA4DA67C9A70EEA    15:35:35
247    Info Hash: 2792CFE99C40641407BFC00440005D0FBAC48D6F                   12-28-   Tushy     07-25-2018   09-05-2018   PA0002134601
       File Hash:                                                              2021
       B2B70AF825DA3A42749A3F89B4FEB1063147F96E183103F31834AF78A4FC5780    15:34:17
248    Info Hash: E96D13E31AC3B7D665F1DF9F79FD1AD873F551C6                   12-28-   Tushy     04-25-2021   06-09-2021   PA0002295582
       File Hash:                                                              2021
       5320B61FFB147AC701E6771C9C61262B00D6B49769877513C53F9F56AB62C928    15:29:32
